     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 1 of 36                FILED
                                                                          2022 Mar-11 PM 02:41
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ALABAMA
                      MIDDLE DIVISION

ROY S. MOORE,
    Plaintiff,

v.                                         Case No. 4:20-cv-124-CLM

TIANA LOWE, JERRY
DUNLEAVY, TIMOTHY
CARNEY, PHILLIP KLEIN,
BRAD POLUMBO, THE
WASHINGTON NEWSPAPER
PUBLISHING COMPANY, LLC,
MEDIA D.C., CLARITY MEDIA
GROUP, and PHILIP
ANSCHUTZ,
    Defendants.

              MEMORANDUM OPINION AND ORDER

       Roy Moore sued several defendants associated with the Washington
Examiner, a conservative online newspaper, for defamation per se,
defamation by implication, and intentional infliction of emotional distress.
At its core, Moore’s suit alleges that these defendants libeled him by
falsely reporting on sexual misconduct allegations.
       Earlier, the Court granted the defendants’ motion to dismiss
Moore’s First Amended Complaint and allowed Moore to file another
complaint that corrected his pleading deficiencies. (Docs. 49, 50). So Moore
filed a Second Amended Complaint (doc. 51), and the defendants renewed
their motion to dismiss. (Doc. 55). For the reasons below, the Court grants
in part and denies in part the renewed motion to dismiss.
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 2 of 36




            FACTUAL AND PROCEDURAL BACKGROUND
      On a motion to dismiss, the Court accepts the plaintiff’s well-
pleaded allegations as true and makes all reasonable inferences in his
favor. Crowder v. Delta Air Lines, 963 F.3d 1197, 1202 (11th Cir. 2020).
The Court may consider exhibits attached to the complaint. Grossman v.
Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir. 2000). And it may
consider documents attached to a motion to dismiss if they are “central to
the plaintiff’s claim” and “authenticity is not challenged.” SFM Holdings,
Ltd. v. Banc of Am. Secs., LLC, 600 F.3d 1334, 1337 (11th Cir. 2010).
I.     Factual Background
      Jeff Sessions resigned his Senate seat in 2017 to become Attorney
General of the United States. (Doc. 51 at 3 ¶ 14). Roy Moore ran in the
special election to replace Sessions. (Id.). After winning the Republican
nomination, Moore squared off against Democratic nominee Doug Jones
in the special election. (Id. at 4 ¶ 16).
       Shortly before the special election, the Washington Post published
an article detailing allegations against Moore made by four women: Leigh
Corfman, Wendy Miller, Debbie Gibson, and Gloria Deason. (Doc. 31-7).1
Corfman alleged that when she was 14 years old, then 32-year-old Moore
“took off her pants and shirt,” “touched her through her bra and
underpants,” and “guided her hand to his underwear.” (Id. at 5). The other
three women said that “Moore pursued them when they were between the
ages of 16 and 18 and he was in his early 30s,” but they did not allege “any
sort of relationship or sexual contact.” (Id. at 1).
      Four days later, the Wall Street Journal reported that a “[f]ifth
woman,” Beverly Nelson, came forward to accuse “Moore of sexual
misconduct.” (Doc. 31-20 at 2).2 The Journal report said that, at a press
conference, Nelson alleged that Moore “groped her breasts and tried to

1Stephanie McCrummen, et al., Woman says Roy Moore initiated sexual encounter when she was
14, he was 32, WASH. POST (Nov. 9, 2017), https://www.washingtonpost.com/investigations/wo
man-says-roy-moore-initiated-sexual-encounter-when-she-was-14-he-was-32/2017/11/09/1f495
878-c293-11e7-afe9-4f60b5a6c4a0_story.html.
2 Nicole Hong, Woman Accuses Roy Moore of Sexually Assaulting Her When She Was a Teen,
WALL. ST. JOURNAL (Nov. 13, 2017), https://www.wsj.com/articles/woman-accuses-roy-moore-of-
sexually-assaulting-her-when-she-was-a-teen-1510608351.

                                            2
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 3 of 36




initiate sex with her in his car when she was a 16-year-old waitress.” (Id.).
According to a transcript of the press conference, Nelson said that Moore
locked her inside his car with him, “began squeezing [her] neck
attempting to force [her] head onto his crotch,” and “was also trying to pull
[her] shirt off.” (Doc. 31-19 at 4).3 She said that Moore ignored her “yelling
at him to stop.” (Id.). And she added that she “was terrified” and “thought
that he was going to rape [her].” (Id.).
     A few days later, the New York Times reported that “four more
women came forward” with accusations against Moore: Becky Gray, Tina
Johnson, Gena Richardson, and Kelly Harrison Thorp. (Doc. 31-22).4
Those women “complained of being groped, forcibly kissed[,] or subjected
to unwanted advances.” (Id. at 2). Other sources alleged that authorities
banned Moore from the mall in Gadsden, Alabama, because of unwanted
advances towards underage girls. (See, e.g., docs. 31-14, 31-16, 31-22).5
     Moore denied the allegations and has labeled them “politically
motivated” fabrications. (Doc. 51 at 4 ¶ 16).
       Doug Jones won the 2017 special election. The same seat was up for
election in 2020, and Moore decided to run again. In the weeks just before
his June 20, 2019, announcement, the Washington Examiner (a
conservative online newspaper) began publishing opinion and news
articles that recounted the 2017 allegations against Moore. (Id. at 7 ¶ 31).
The Court now turns to those articles.




3Text of Beverly Young Nelson’s Accusation Against Roy Moore, N.Y. TIMES (Nov. 13, 2017),
https://www.nytimes.com/2017/11/13/us/politics/text-beverly-young-nelson-statement.html.
4Alan Blinder, 4 More Women Accuse Roy Moore of Misconduct, N.Y. TIMES (Nov. 15, 2017),
https://www.nytimes.com/2017/11/15/us/roy-moore-alabama-republicans.html.
5 Charles Bethea, Locals Were Troubled by Roy Moore’s Interactions with Teen Girls at the
Gadsden Mall, NEW YORKER (Nov. 13, 2017), https://www.newyorker.com/news/news-
desk/locals-were-troubled-by-roy-moores-interactions-with-teen-girls-at-the-gadsden-mall;
Blinder, supra note 4; Glynn Wilson, Politics Makes Strange Bedfellows, but Jesus. Not this.,
NEW AM. J. (Nov. 12, 2017), https://www.newamericanjournal.net/2017/11/politics-makes-
strange-bedfellows-but-jesus-not-this/.

                                             3
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 4 of 36




         A.    Tiana Lowe’s First Article
      In May 2019, Tiana Lowe published an opinion piece in the
Washington Examiner titled, “If Alabamans vote for Roy Moore, they
deserve Doug Jones.” (Doc. 51-1 at 7).6 Lowe began the piece by saying,
“Roy Moore, famous for being banned from a mall because he sexually
preyed on underage girls and losing a Senate race in an R+14 state,
apparently wants another round at the rodeo.” (Id.). She then labeled
Moore an “accused sexual assailant and pedophile,” “a comic book villain,”
and “a skunk.” (Id.). And she closed by telling Alabama voters,
         [i]f you back Roy Moore in a primary, every pro-life bill that
         fails in the Senate means you have extra blood of babies on
         your hands. If you back Roy Moore in a primary, every vote
         that Trump loses due to Moore’s reentry in the national
         spotlight will be your fault.
(Id.).
         B.    Tiana Lowe’s Second Article
       The next day, Lowe published another piece in the Examiner titled,
“Let’s examine all the reasons Roy Moore is a terrible human being.” (Id.
at 9).7 Lowe labeled Moore as “an indefensible person, someone whose
record disqualifies him from any position in public life,” “a despicable
person,” “homophobic,” and “probably racist.” (Id. at 9–10).
       Lowe wrote that the “sexual misconduct allegations” against Moore
are “damning if true” and “overwhelmingly likely to be true.” (Id. at 9).
She wrote that Corfman alleged that, when she was 14 years old, Moore
initiated “two intimate encounters with her.” (Id.). She wrote that Nelson
“accused Moore of attempting to rape her in a car when she was 16 years
old.” (Id.). She wrote that Miller “accused Moore of hitting on her while
she was under the age of consent in Alabama.” (Id.). She added that “[a]
handful of other women independently alleged having intimate

6Tiana Lowe, If Alabamans vote for Roy Moore, they deserve Doug Jones, WASH. EXAMINER (May
28, 2019), https://www.washingtonexaminer.com/opinion/if-alabamans-vote-for-roy-moore-
they-deserve-doug-jones.
7 Tiana Lowe, Let’s examine all the reasons Roy Moore is a terrible human being, WASH.
EXAMINER (May 29, 2019), https://www.washingtonexaminer.com/opinion/lets-examine-all-the-
reasons-roy-moore-is-a-terrible-human-being.

                                            4
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 5 of 36




relationships with Moore in their teens.” (Id.). And finally, she stated that
“multiple people allege that Moore was banned from the Gadsden Mall,
his reported playground for picking up teen girls.” (Id.).
      After this article came out, Moore’s attorney sent a retraction
demand to Lowe and Philip Klein (Executive Editor of the Washington
Examiner) and claimed that the article was “highly defamatory.” (Id. at
12). They didn’t respond or retract the article. (Doc. 51 at 12 ¶ 45).
       C.     Jerry Dunleavy’s First Article
       The same day that Moore announced his candidacy, the Examiner
published a news article by Jerry Dunleavy titled, “Roy Moore says he will
run for Senate again in 2020.” (Doc. 51-1 at 16).8 Dunleavy reported that
“a number of women came forward during [Moore’s 2017] campaign to
claim that Moore had sexually assaulted them,” and added that “[t]wo of
the accusers were underage at the time of the alleged incidents.” (Id.).
After commenting on conservative opposition to Moore’s 2020 candidacy,
Dunleavy summarized the 2017 accusations against Moore, which
included saying that Nelson alleged that “Moore attempted to rape her in
a car.” (Id. at 17).
       D.     Jerry Dunleavy’s Second Article
       A month later, the Examiner published another Dunleavy news
article titled, “Watchdog files complaint over possible forged signatures on
documents from Roy Moore charity.” (Id. at 20).9 The article focused on a
complaint against “the Foundation for Moral Law,” which it described as
“a Christian nonprofit activist group founded by accused sexual predator
and current Senate candidate Roy Moore.” (Id.). Dunleavy wrote that “a
number of women came forward during [Moore’s 2017 campaign] to claim
that Moore had sexually assaulted them, including two accusers who were
underage at the time of the alleged incidents.” (Id. at 21).

8Jerry Dunleavy, Roy Moore says he will run for Senate again in 2020, WASH. EXAMINER (June
20, 2019), https://www.washingtonexaminer.com/news/roy-moore-says-he-will-run-for-senate-
again-in-2020.
9Jerry Dunleavy, Watchdog files complaint over possible forged signatures on documents from
Roy Moore charity, WASH. EXAMINER (July 12, 2019), https://www.washingtonexaminer.com/ne
ws/watchdog-files-complaint-over-possible-forged-signatures-on-documents-from-roy-moore-
charity.

                                            5
      Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 6 of 36




       E.      Tiana Lowe’s Third Article
      The next month, Lowe wrote another piece for the Examiner titled,
“Laura Loomer may be a laughing stock, but it’s pretty unfunny when
Republicans back her.” (Id. at 24).10 In the article, Lowe called Moore a
“credibly accused sexually pedophilic predator.” (Id. at 25).
       F.      Brad Polumbo’s Article
       And a few months later, the Washington Examiner published an
opinion piece by Brad Polumbo titled, “Sorry not sorry. Roy Moore, the
GOP is done with you.” (Id. at 27).11 The article began by calling Moore
“the former judge and alleged sexual predator.” (Id.). And after discussing
conservative opposition and detailing Alabama voters’ “unfavorabl[e]”
views of Moore, Polumbo added that Moore “has been credibly accused of
sexual misconduct by multiple women who were just teenagers at the
time.” (Id. at 28).
                                           ___
      More than four years after the initial Washington Post article, and
more than two years after the Washington Examiner articles at issue here,
Moore’s accusers maintain that they told the truth, and Moore maintains
that he was falsely accused for political reasons.


II.    Procedural Background
      In his three complaints, Moore asserts three claims against nine
defendants: (1) defamation per se; (2) defamation by implication; and (3)
intentional infliction of emotional distress (i.e., outrage). (Docs. 1, 5, 51).
Moore filed his initial complaint, then amended it, before the defendants
submitted any responsive pleading. (Doc. 1, 5). The defendants then
moved to dismiss the First Amended Complaint. (Doc. 31). They argued

10Tiana Lowe, Laura Loomer may be a laughing stock, but it’s pretty unfunny when Republicans
back her, WASH. EXAMINER (Aug. 6, 2019), https://www.washingtonexaminer.com/opinion/laura-
loomer-may-be-a-laughing-stock-but-its-pretty-unfunny-when-republicans-back-her.
11Brad Polumbo, Sorry not sorry. Roy Moore, the GOP is done with you, WASH. EXAMINER (Nov.
27, 2019), https://www.washingtonexaminer.com/tag/donald-
trump?source=%2Fopinion%2Fthe-gop-is-done-with-roy-moores-bigotry-and-his-alabama-
senate-2020-campaign.

                                             6
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 7 of 36




that Moore had not stated a claim and that the Court lacked personal
jurisdiction over Clarity Media Group, Philip Anschutz, and Philip Klein.
      During a hearing on that motion, Moore agreed to amend his
complaint a second time to correct pleading deficiencies. (Doc. 54 at 82).
The Court entered an opinion and an order that: (1) dismissed Clarity,
Anschutz, and Klein for lack of jurisdiction; and (2) dismissed Moore’s
claims without prejudice. (Docs 49, 50). Moore then filed a Second
Amended Complaint (doc. 51), and the defendants moved to dismiss it
with prejudice. (Doc. 55).
      At this point, the Court has published two opinions in Moore’s
defamation case against those whom he says defamed him in 2017. Moore
v. Cecil, 488 F. Supp. 3d 1144 (N.D. Ala. 2020) (“Cecil I”); Moore v. Cecil,
No. 4:19-cv-1855, 2021 WL 1208870 (N.D. Ala. Mar. 31, 2021) (“Cecil II”).
And the Court has issued one opinion in this case. Moore v. Lowe, 4:20-cv-
124, 2021 WL 1208871 (N.D. Ala. Mar. 31, 2021) (“Lowe I”).


                        STANDARD OF REVIEW
       “To survive a motion to dismiss, a complaint must contain sufficient
factual matter, accepted as true, to ‘state a claim to relief that is plausible
on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court
to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Id. The Court accepts the plaintiff’s well-pleaded
allegations as true and makes reasonable inferences in his favor. Crowder,
963 F.3d at 1202. But those “[f]actual allegations must be enough to raise
a right to relief above the speculative level.” Twombly, 550 U.S. at 555.
And the Court disregards both conclusory statements and “[t]hreadbare
recitals of the elements of a cause of action.” Iqbal, 556 U.S. at 678.




                                       7
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 8 of 36




                              DISCUSSION
      The Court divides its discussion into three parts. First, personal
jurisdiction over Clarity Media Group, Philip Anschutz, and Philip Klein.
Second, the defamation claims. And third, the IIED/outrage claim.

I.    Personal Jurisdiction over Clarity, Anschutz, and Klein

      The Court has a continuing and independent obligation to ensure
that jurisdiction exists. Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,
1245 (11th Cir. 2020). “[A] federal court generally may not rule on the
merits of a case without first determining that it has jurisdiction over the
category of claim in suit (subject-matter jurisdiction) and the parties
(personal jurisdiction).” Sinochem Int’l Co. Ltd. v. Malaysia Int’l Shipping
Corp., 549 U.S. 422, 430–31 (2007). And the Court cannot “assume
jurisdiction for the purpose of deciding the merits.” Id. at 431.

       In Lowe I, the Court held that it lacked personal jurisdiction over
Clarity, Anschutz, and Klein because Moore did not “plead any facts” in
his First Amended Complaint to support general or specific personal
jurisdiction. (Doc. 49 at 4–5). The defendants say that the Second
Amended Complaint similarly fails to plead jurisdictionally adequate
facts for these three defendants. (Doc. 55 at 20–21).

      The Law: “A federal court sitting in diversity undertakes a two-
step inquiry in determining whether personal jurisdiction exists: the
exercise of jurisdiction must (1) be appropriate under the state long-arm
statute and (2) not violate the Due Process Clause of the Fourteenth
Amendment to the United States Constitution.” United Techs. Corp. v.
Mazer, 556 F.3d 1260, 1275 (11th Cir. 2009). Two types of personal
jurisdiction comply with due process: “general (sometimes called all-
purpose) and specific (sometimes called case-linked) jurisdiction.” Bristol-
Myers Squibb Co. v. Sup. Ct., 137 S. Ct. 1773, 1780 (2017) (quotation
marks omitted).

       The plaintiff “bears the initial burden of alleging in the complaint
sufficient facts to make out a prima facie case of jurisdiction.” United
Techs. Corp., 556 F.3d at 1274. “When a defendant challenges personal
jurisdiction ‘by submitting affidavit evidence in support of its position, the
                                      8
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 9 of 36




burden traditionally shifts back to the plaintiff to produce evidence
supporting jurisdiction.’” Louis Vuitton Malletier, S.A. v. Mosseri, 736
F.3d 1339, 1350 (11th Cir. 2013); see also United Techs. Corp., 556 F.3d at
1274 (applying this standard at the motion-to-dismiss stage).

      As explained below, there is no basis to exercise general or specific
personal jurisdiction over Clarity, Anschutz, or Klein. That means the
exercise of personal jurisdiction over them would violate due process.

      A.    General Personal Jurisdiction

      General personal jurisdiction exists if a defendant’s “affiliations
with the State are so ‘continuous and systematic’ as to render them
essentially at home in the forum State.” Goodyear Dunlop Tires Ops., S.A.
v. Brown, 564 U.S. 915, 919 (2011). Typically, “an individual is subject to
general jurisdiction in her place of domicile,” and a corporation in “its
place[s] of incorporation and principal place of business.” Ford Motor Co.
v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021).

      The Second Amended Complaint alleges that Clarity “is located in
New York, NY.” (Doc. 51 at 3 ¶ 11). It alleges that Anschutz “is a citizen
of Colorado.” (Id. at 3 ¶ 12). And it alleges that Klein “is a citizen of the
District of Columbia.” (Id. at 3 ¶ 7). None is “at home” in Alabama.
Goodyear, 564 U.S. at 919. So none is subject to general jurisdiction.

      B.    Specific Personal Jurisdiction

      Specific jurisdiction “focuses on the relationship among the
defendant, the forum, and the litigation.” Walden v. Fiore, 571 U.S. 277,
284 (2014) (cleaned up). The Due Process Clause imposes three conditions
on specific jurisdiction. First, the defendant “must take some act by which
it purposely avails itself of the privilege of conducting activities within the
forum State.” Ford Motor Co., 141 S. Ct. at 1024 (quotation marks and
alteration omitted). Second, the plaintiff’s claims “must arise out of or
relate to the defendant’s contacts with the forum.” Id. at 1025 (quotation
marks omitted). And third, the exercise of jurisdiction must not “offend
traditional notions of fair play and substantial justice.” Id. at 1024. In



                                       9
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 10 of 36




sum, the defendant’s “suit-related conduct must create a substantial
connection with the forum State.” Walden, 571 U.S. at 284.

      In this intentional-tort case, “there are two applicable tests for
determining whether purposeful availment occurred.” Louis Vuitton, 736
F.3d at 1356. One is the “traditional minimum contacts test,” which
requires the Court to:

      assess the nonresident defendant’s contacts with the forum
      state and ask whether those contacts: (1) are related to the
      plaintiff’s cause of action; (2) involve some act by which the
      defendant purposefully availed himself of the privileges of
      doing business within the forum; and (3) are such that the
      defendant should reasonably anticipate being haled into court
      in the forum.
Id. at 1357. The other is the “effects test”—another test that does not
supplant the traditional test—which authorizes specific jurisdiction in
tort cases when the tortious conduct was: (1) intentional; (2) aimed at the
forum State; and (3) caused harm that the defendant should have
anticipated the plaintiff would suffer in the forum State. Id. at 1356.

      In the Second Amended Complaint, Moore alleges that Clarity is the
parent company of the Washington Newspaper Publishing Company,
LLC, which publishes the Washington Examiner. (Doc. 51 at 6 ¶ 25).
Anschutz, according to the complaint, “is the owner of Clarity.” (Id. at 3 ¶
12). Moore alleges that the Washington Examiner “falls under the
authority” of Clarity and Anschutz and thus both “knew or should have
known” about the allegedly defamatory publications. (Id. at 15 ¶ 60). And
he says that they “are responsible for the oversight and supervision of the
publications.” (Id. at 16 ¶ 61). Lastly, Moore alleges that Klein is the
“Executive Editor” of the Washington Examiner. (Doc. 51 at 3 ¶ 7).

     In response, each of these defendants filed an affidavit denying their
connections to the allegedly defamatory articles. (Docs. 31-4, 31-5, 31-6):

   • The CFO of Clarity stated that Clarity and the Washington
     Newspaper Publishing Company “are separate entities,” that
     Clarity “does not exercise day-to-day control over WNPC’s
                                     10
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 11 of 36




      operations,” and that it “plays no role in writing, editing, or
      publishing the Washington Examiner.” (Doc. 31-6 at 3). He added
      that Clarity played no role in the writing, editing, or publishing of
      the allegedly defamatory articles. (Id.).
   • Anschutz said he “had no involvement with the publication of any
     of [the] articles,” that he “did not write, edit, approve, or consult on
     any of them,” and that he “did not become aware of them until after
     they were published.” (Doc. 31-4 at 3).
   • Klein stated that, although he was the Executive Editor of the
     Washington Examiner from 2018–19, it “was not a supervisory
     position.” (Doc. 31-5 at 2). He explained that he “had no involvement
     with the publication of any of [the] articles,” that he “did not write,
     edit, approve, or consult on any of them,” and that he “did not
     become aware of them until after they were published.” (Id. at 3).
These affidavits triggered Moore’s burden “to produce evidence
supporting jurisdiction.” Louis Vuitton, 736 F.3d at 1350. But Moore has
produced no evidence to rebut their affidavits asserting that each played
no role in (or had no pre-publication knowledge of) the articles.
       To be sure, Clarity, Anschutz, and Klein are entitled to dismissal,
even without their affidavits, because Moore has not plausibly alleged
facts to support specific jurisdiction. He merely offers a conclusory and
speculative allegation that these defendants knew or should have known
about the articles. That is not enough.
      For contrast, consider the allegations that sufficed in Calder v.
Jones, 465 U.S. 783 (1984). The Supreme Court held that the district court
could exercise jurisdiction over a reporter who “wrote” and an editor who
“edited” the allegedly defamatory articles. Id. at 789. The Court explained
that these defendants “expressly aimed” “their intentional, and allegedly
tortious, actions” towards the forum State. Id. In this case, though, Moore
has neither alleged nor produced evidence to support that any of these
defendants participated in the publication process in a similarly active
and aimed way.
      For Clarity and Anschutz, Moore tries to circumvent these flaws by
pointing to principles of vicarious liability. (Doc. 57 at 17–19). But

                                     11
      Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 12 of 36




vicarious liability is not an issue in this case. And this argument conflicts
with the rule that the jurisdictionally relevant relationship between the
defendant and forum State “must arise out of contacts that the ‘defendant
himself’ creates with the forum state.’” Walden, 571 U.S. at 284. Without
such allegations (and an evidentiary showing), Moore’s argument fails.
      For Klein, Moore emphasizes that he addressed his retraction-
demand letter to both Lowe and Klein. (Doc. 57 at 17). But Moore
targeting Klein with a letter doesn’t prove that Klein targeted Alabama
by playing an active, purposeful, or intentional role in the articles. And
Klein’s un-rebutted affidavit explains that he played no such role. So this
argument fails, too.
       Moore has not plausibly alleged or met his evidentiary burden of
showing that any of these defendants had adequate suit-related contacts
with Alabama. So he cannot satisfy the “traditional minimum contacts
test” or the “effects test.” Louis Vuitton, 736 F.3d at 1356–57. The Court
thus lacks specific jurisdiction.
                                    ***
      In sum, Moore has not shown that the Court can exercise general or
specific personal jurisdiction over Clarity, Anschutz, or Klein. So the
Court dismisses each from the case.


II.    The Defamation Claims (Counts I & II)

      In his Second Amended Complaint, Moore brings separate claims
for defamation per se (Count I) and defamation by implication (Count II).
After explaining the framework for a public figure’s defamation claim, the
Court will address each allegedly defamatory statement.

       A.    The Public Figure’s Defamation Framework

      To state an ordinary claim for defamation under Alabama law, the
plaintiff must plausibly allege: (1) “a false and defamatory statement
concerning the plaintiff”; (2) “an unprivileged communication of that
statement to a third party”; (3) “fault amounting at least to negligence on
the part of the defendant”; and (4) “either actionability of the statement

                                     12
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 13 of 36




irrespective of special harm or the existence of special harm caused by the
publication of the statement.” Dolgencorp, LLC v. Spence, 224 So. 3d 173,
186 (Ala. 2016). Defamation is actionable per se (that is, without proving
special harm), if “the language used exposes the plaintiff to public ridicule
or contempt.” Liberty Nat’l Life Ins. Co. v. Daugherty, 840 So. 2d 152, 157
(Ala. 2002). And defamation by implication includes the deceptive
juxtaposition of facts to create a false and defamatory implication.
Finebaum v. Coulter, 854 So. 2d 1120, 1124–25 (Ala. 2003).

       Moore admits that he is a public figure, so “the First Amendment
imposes additional limitations.” Coral Ridge Ministries Media, Inc. v.
Amazon.com, Inc., 6 F.4th 1247, 1252 (11th Cir. 2021), petition for cert.
filed, No. 21-802 (Nov. 20, 2021). “First, the alleged defamatory statement
must be ‘sufficiently factual to be susceptible of being proved true or
false.’” Id. (quoting Milkovich v. Lorain J. Co., 497 U.S. 1, 21 (1990)).
“Second, the statement must be actually false.” Id.12 “And third, a public-
figure plaintiff must prove that the defendant made the alleged
defamatory statement with ‘actual malice’—‘with knowledge that it was
false or with reckless disregard of whether it was false or not.’” Id.
(quoting N.Y. Times Co. v. Sullivan, 376 U.S. 254, 279–80 (1964)). “This
actual malice test is subjective; the public-figure plaintiff must show that
the defendant ‘in fact entertained serious doubts as to the truth’ of the
statement.” Id. (quoting Berisha v. Lawson, 973 F.3d 1304, 1312 (11th Cir.
2020)).

      In Lowe I, the Court instructed Moore to “specify the defamatory
statement and then plead facts that would establish both defamation
under Alabama law and actual malice under the First Amendment for
that statement.” (Doc. 49 at 5; see also id. at 6). For his defamation-per-se
claim, Moore specifies five allegedly defamatory statements and briefly
mentions several more statements. For his defamation-by-implication
claim, he identifies 10 statements. With that backdrop, the Court turns to
Moore’s Second Amended Complaint.

12Taken together, these two limitations show that “[t]rue statements, statements that are not
readily capable of being proven false, and statements of pure opinion are protected from
defamation actions by the First Amendment.” Turner v. Wells, 879 F.3d 1254, 1262 (11th Cir.
2018).

                                             13
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 14 of 36




          B.      Moore’s defamation-per-se allegations

      As discussed below, Moore can proceed to discovery on one basis for
his defamation per se count. The Court dismisses all other bases.

                  1.     Lowe’s statement that Moore was “famous for
                         being banned from a mall because he sexually
                         preyed on underage girls”
      Moore alleges that, in her first article, Tiana Lowe defamed him by
saying that he was “famous for being banned from a mall because he
sexually preyed on underage girls.” (Doc. 51 at 17).13 The Court dismisses
this basis for a few reasons.

      First, that Lowe labeled Moore “famous” for the alleged mall ban is
not actionable. A public-figure plaintiff cannot complain about “rhetorical
hyperbole.” Horsley v. Rivera, 292 F.3d 695, 701 (11th Cir. 2002). The
First Amendment protects the “exaggeration and non-literal commentary”
which “have become an integral part of social discourse.” Id. (citation and
quotation marks omitted). No reasonable reader would interpret Lowe’s
use of the word “famous” as anything other than rhetorical hyperbole.

      Second, Lowe’s statement that Moore was “banned from a mall” is
not actionable, either. Binding circuit precedent explains that actual
malice “cannot be found where . . . the publisher’s allegations are
supported by a multitude of previous reports upon which the publisher
reasonably relied.” Rosanova v. Playboy Enter., Inc., 580 F.2d 859, 862
(5th Cir. 1978). In other words, the reliance on “many independent
sources, alone, should defeat any claim of actual malice.” Berisha, 973
F.3d at 1313. By the time of Lowe’s article, several sources corroborated
Lowe’s statement about a mall ban. (See, e.g., docs. 31-14, 31-16, 31-21,
31-22, 31-25, 31-26, 31-27, 31-28, 31-29, 31-32, 43-3). The sources include,
among others, New Yorker, Fox News, The New York Times, The Atlantic,
ABC, NBC, CNBC, and Vice News. This multitude of previous reporting
defeats any allegation of actual malice.




13   See Lowe, supra note 6.

                                       14
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 15 of 36




       Third, it is not actionable that Lowe said the reason for Moore’s
alleged ban was that “he sexually preyed on underage girls” because,
again, several existing sources corroborated the statement. (See, e.g., doc.
31-14 (“Sources tell me Moore was actually banned from the Gadsden Mall
and the YMCA for his inappropriate behavior of soliciting sex from young
girls”); doc. 31-16 (“because he repeatedly badgered teen-age girls”); doc.
31-21 (“for harassing girls”); doc. 31-22 (reporting that Becky Gray alleged
that “in her late teens or early 20s” she “frequently saw” Moore “talking
with young women,” Moore “would not leave her alone,” and she was “later
told that Mr. Moore had been banned from the mall”); doc. 31-25 (“for
pursuing teenage girls as an adult”); doc. 31-26 (reporting that Moore was
banned after Gray “complained about his repeated, unwanted advances
toward her”); 31-27 (reporting on Gray’s allegations); 31-29 (“because of
his aggressive sexual pursuit of teenage girls”). These published reports
defeat Moore’s allegations of actual malice.

      Moore’s counterarguments do not persuade the Court otherwise.
First, the widespread reporting rebuts Moore’s argument that Lowe
transformed a “rumor[]” into a statement of fact. (Doc. 57 at 9; see also
doc. 31-29 (“As for Moore, additional reports indicate that at one point he
was even banned from a local mall in Gadsden, Alabama, because of his
aggressive sexual pursuit of teenage girls.”)). Second, his argument that
several former mall employees disputed the ban (doc. 57 at 9–11) fails
because Lowe had no duty to investigate absent a plausible allegation that
she “purposefully avoided further investigation with the intent to avoid
the truth.” Michel v. NYP Holdings, 816 F.3d 686, 703 (11th Cir. 2016).
And Moore has not plausibly alleged purposeful avoidance here.

      For these reasons, the Court dismisses this basis for Moore’s claim.




                                     15
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 16 of 36




                  2.     Lowe’s statement that “[a] handful of other
                         women independently alleged having intimate
                         relationships with Moore in their teens”
      Moore alleges that Lowe defamed him in her second article by
writing that, beyond Corfman, Nelson, and Miller, “[a] handful of other
women independently alleged having intimate relationships with Moore
in their teens.” (Doc. 51 at 17–18).14 This basis may proceed to discovery.

      In her second article, Lowe described the allegations from Corfman,
Nelson, and Miller. (Doc. 51-1 at 9). First, Lowe reported that Corfman
alleged having “two intimate encounters” with Moore, and then Lowe said
that the encounters would “constitute second degree sexual abuse under
Alabama law.” (Id.) She wrote that Nelson “accused Moore of attempting
to rape her in a car when she was 16 years old” and that Wendy Miller
“accused Moore of hitting on her while she was under the age of consent
in Alabama.” (Id.). After that, she added that “[a] handful of other women
independently alleged having intimate relationships with Moore in their
teens.” (Id.). Moore focuses on the phrase “intimate relationships.”

       Several other women did allege some sort of relationship with Moore
during their teenage years. As reported by the Washington Post in
November 2017, Gloria Deason alleged that she “dated” Moore when she
was 18 and Moore was 32. (Doc. 31-7 at 7). She said that Moore “took her
to his house at least two times” and that “their physical relationship did
not go further than kissing and hugging.” (Id.). Debbie Gibson alleged that
she “dated” Moore when she was 17 and he was 34. (Id. at 8). She said
that they “kissed . . . once in his bedroom and once by the pool at a local
country club.” (Id.). And Gena Richardson alleged that, when she was 18,
then 30-year-old Moore took her on “a date that ended with Moore driving
her to her car in a dark parking lot behind Sears and giving her what she
called an unwanted, ‘forceful’ kiss that left her scared.” (Doc. 31-24 at 2).

      The questions are whether these reports supported Lowe’s
statement that other women alleged “having intimate relationships with
Moore,” and whether Moore plausibly alleged actual malice.


14   See Lowe, supra note 7.

                                      16
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 17 of 36




                       i. Is the statement reasonably capable of a defamatory
                          meaning?
      Moore argues that Lowe’s statement is false and defamatory
because “[t]he common reader would assume an ‘intimate relationship’
would entail much more than a couple of kisses, with the most likely
impression being a sexual relationship.” (Doc. 57 at 14). The defendants
contend that these “were ‘intimate’ encounters in the ordinary sense of
that word” because they included dating and kissing. (Doc. 58 at 6–7).

       The Court applies the meaning of words and phrases that “readers
of common and reasonable understanding would ascribe.” Kelly v.
Arrington, 624 So. 2d 546, 548 (Ala. 1993). It is enough that the statement
is “reasonably capable of a defamatory meaning.” Id.

       The word “intimate,” in context, most naturally means “having, or
being likely to cause, a very close friendship or personal or
sexual relationship.” Intimate, CAMBRIDGE DICTIONARY, https://dictionar
y.cambridge.org/us/dictionary/english/intimate (last visited Mar. 11,
2022).15 A reader of common and reasonable understanding could
interpret Lowe’s use of the phrase “intimate relationship” to mean that
Moore engaged in sexual intercourse with “a handful of other women . . .
in their teens,” which would be false because it is more than dating and
kissing. Sexual, CAMBRIDGE DICTIONARY, https://dictionary.cambridge.or
g/us/dictionary/english/sexual (last visited Mar. 11, 2022) (“relating to the
activity of sex”). This is particularly true because, in the same article,
Lowe used the word “intimate” to describe Moore’s relationship with
Corfman, who alleged that when she was 14 years old, Moore “took off her
pants and shirt,” “touched her through her bra and underpants,” and
“guided her hand to his underwear.” (Doc. 31-7 at 5). So the court finds
that Lowe’s statement is “reasonably capable of a defamatory meaning,”
Kelly, 624 So. 2d at 548, and thus Moore has plausibly alleged a “false and
defamatory statement.” Dolgencorp, 224 So. 3d at 186.


15The defendants cite this definition and emphasize that Moore’s relationship with these women
was “personal.” (Doc. 58 at 7). Although a reader might understand “intimate” to mean a
personal relationship, the defendants’ argument does not rebut the reasonable possibility that
a reader could also interpret “intimate” to mean a sexual relationship.

                                             17
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 18 of 36




                  ii.   Did Moore plausibly allege actual malice?

      That leads to a second question: has Moore, as a public figure,
adequately alleged actual malice for this statement? N.Y. Times Co, 376
U.S. at 279–80. Albeit narrowly, he has.

      As the Court explained in Cecil II, five circuits and the Alabama
Supreme Court “have held that to establish actual malice when a word
has more than one meaning, a public figure must show ‘that the defendant
either intended to communicate the defamatory meaning or knew of the
defamatory meaning and was reckless in regard to it.’” 2021 WL 1208870,
at *8 (collecting cases and quoting Kendall v. Daily News Pub. Co., 716
F.3d 82, 90 (3d Cir. 2013)).

       Moore’s actual-malice allegation is borderline conclusory: “Lowe’s
statement . . . is also a lie and yet [she] published the lie all the same.
Thus, Lowe had knowledge that the statement was false or a reckless
disregard of whether the statement was false or not.” (Doc. 51 at 18 ¶ 68).
Elsewhere in his complaint, he alleges that “there was never any intimate
‘sexual’ behavior with teens.” (id. at 10 ¶ 40). From the complaint, a
reasonable reader could infer that Lowe: (1) knew what the “other women”
alleged; (2) understood the various possible interpretations of the phrase
“intimate relationship”; and (3) knew that Moore did not have a sexual
relationship with the “other women” because none of them alleged that he
had. As a result, Moore has narrowly but plausibly alleged that Lowe
knew of the defamatory meaning a reader could give the phrase “intimate
relationships” and acted recklessly with it. See Cecil II, 2021 WL 1208870,
at *8. So Moore adequately alleged actual malice.

                                   ***

       To sum up, Moore’s defamation-per-se claim survives the motion to
dismiss to the extent that he claims that Lowe defamed him by reporting
that “[a] handful of other women independently alleged having intimate
relationships with Moore in their teens.” (Doc. 51 at 17–18).




                                    18
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 19 of 36




                  3.     Lowe’s other statements

      In the defamation-per-se section, Moore identifies several other
statements that Lowe made in her three articles. (Doc. 51 at 16–17 ¶¶ 65–
67). Those include her calling Moore an “accused sexual assailant,”
“pedophile,” “a comic book villain,” “a skunk,” “a despicable person,
someone whose record disqualifies him from any position in public life,”
“homophobic,” “probably racist,” “a terrible human being,” and “a credibly
accused sexually pedophilic predator.” (Id.). Those also include writing:

      • “If you back Roy Moore in a primary, every pro-life bill that fails in
        the Senate means that you have extra blood of babies on your
        hands.”
      • that the sexual-misconduct allegations against Moore were
        “overwhelmingly likely to be true.”
      • that Nelson accused Moore of “attempting to rape her.”
      • that Corfman accused Moore of initiating “two intimate encounters”
        that amounted to “second degree sexual abuse.”

(Id.). But Moore made no effort to allege facts that would plausibly
support an actual-malice finding. Keeping in mind that “[t]hreadbare
elements of a cause of action, supported by mere conclusory statements,
do not suffice,” Iqbal, 556 U.S. at 678, the Court grants the defendants’
motion to dismiss Moore’s defamation-per-se claim to the extent that
Moore relies on these statements from Lowe.

                  4.     Dunleavy’s statement that Nelson alleged that
                         “Moore attempted to rape her in a car”
     Moore alleges that, in his first article, Jerry Dunleavy defamed him
by writing: “Beverly Young Nelson, a Trump supporter, said that when
she was 16 years old, Moore attempted to rape her in a car.” (Doc. 51 at
19–20).16 The Court dismisses this basis for Moore’s claim.

     The dispositive issue is whether Moore plausibly alleged that
Dunleavy’s statement was “false and defamatory.” Dolgencorp, 224 So. 3d
at 186. “Truthful statements cannot, as a matter of law, have a

16   See Dunleavy, supra note 8.

                                       19
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 20 of 36




defamatory meaning.” Fed. Credit, Inc. v. Fuller, 72 So. 3d 5, 10 (Ala.
2011). “The common law of libel . . . overlooks minor inaccuracies and
concentrates upon substantial truth.” Masson v. New Yorker Mag., Inc.,
501 U.S. 496, 516 (1991) (emphasis added). So minor inaccuracies do not
satisfy the falsity component if “the substance, the gist, the sting, of the
libelous charge be justified.” Id. at 517; see also Drill Parts & Serv. Co.,
Inc. v. Joy Mfg. Co., 619 So. 2d 1280, 1290 (Ala. 1993) (finding no “false
meaning” in articles the trial court labeled “substantially correct”).

      In her press conference, Nelson said that when she was 16 and
working at a restaurant, Moore approached and offered her a ride home.
(Doc. 31-19 at 3–4). She said, after getting in his car, Moore “drove to the
back of the restaurant.” (Id. at 4). At that point, she became “alarmed”
and “immediately asked him what he was doing.” (Id.). Then, in her words:

      Instead of answering my question, Mr. Moore reached over
      and began groping me, putting his hands on my breasts. I
      tried to open my car door to leave, but he reached over and
      locked it so I could not get out. I tried fighting him off, while
      yelling at him to stop, but instead of stopping he began
      squeezing my neck attempting to force my head onto his
      crotch. I continued to struggle. I was determined that I was
      [sic] not allow him to force me to have sex with him. I was
      terrified. He was also trying to pull my shirt off. I thought that
      he was going to rape me. I was twisting and struggling and
      begging him to stop. I had tears running down my face.

(Id.). She added that “[a]t some point he gave up,” she exited his car, and
Moore left. (Id.).

      Dunleavy wrote that Nelson accused Moore of “attempt[ing] to rape
her in a car.” (Doc. 51-1 at 17). Moore contends that the statement is false
and defamatory because Nelson merely “stated that she ‘thought’ Roy
Moore was going to rape her.” (Doc. 57 at 8). The defendants counter that
it was fair and accurate to label Nelson’s statement as “an accusation of
attempted rape” based on her description of the altercation and her
statement that—at the time of the incident—she believed that Moore “was


                                     20
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 21 of 36




going to rape [her].” (Doc. 55 at 9–10). They also argue that, legally
speaking, Moore’s attempt to force Nelson to perform oral sodomy
constitutes rape under Alabama law. (Id. at 9).

      Again, the Court applies the meaning of words and phrases that
“readers of common and reasonable understanding would ascribe.” Kelly,
624 So. 2d at 548. Such a reader could interpret Dunleavy’s use of the
phrase “attempted to rape” to mean that Moore tried to forcibly engage in
sexual intercourse with Nelson by penetrating her vagina. While Nelson’s
allegations would support findings that (1) Moore attempted to engage in
forced oral sodomy (as in, penetration of the mouth with his penis), and
(2) Nelson subjectively believed that Moore would try—but had yet to
try—to vaginally rape her, they would not support a finding that Moore
affirmatively tried to force vaginal, sexual intercourse. To that extent (and
that extent only), Dunleavy’s statement is reasonably capable of a false
and defamatory meaning.

       Even so, that falsity is not actionable because Dunleavy’s statement
is “substantially tru[e].” Masson, 501 U.S. at 516. Even if a reader
interprets Dunleavy’s statement to mean forced vaginal sex rather than
forced oral sex, the statement still carries “the substance, the gist, [and]
the sting” of truth that justifies Dunleavy’s reporting. Id. at 517. The “gist”
of Dunleavy’s statement is that Nelson accused Moore of trying to force
her to engage in a forced sexual act with him. It carries substantial truth
(even if technically inaccurate) to take Nelson’s recounting of Moore’s
conduct—locking Nelson in a car, grabbing her neck, and trying to take
her clothes off, to the point Nelson believed Moore would rape her—and
say that Nelson accused Moore of trying to rape her. As a result, Moore
cannot show that Dunleavy’s statement was actionably false. So the Court
dismisses this basis of Moore’s defamation-per-se claim.

            5.     Dunleavy’s statement that “a number of women
                   came forward during the [2017] campaign to
                   claim that Moore had sexually assaulted them”
      Moore alleges that, in his second article, Dunleavy defamed him by
writing that “a number of women came forward during [Moore’s 2017]
campaign to claim that Moore had sexually assaulted them, including two

                                      21
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 22 of 36




accusers who were underage at the time of the alleged incidents.” (Doc. 51
at 19–20).17 The Court dismisses this basis for Moore’s claim.

      The statement is not actionable because it is substantially true. See
Masson, 501 U.S. at 516; Fed. Credit, Inc., 72 So. 3d at 10. First, Corfman
alleged that she was 14 when Moore “took off her pants and shirt,”
“touched her through her bra and underpants,” and “guided her hand to
his underwear.” (Doc. 31-7 at 5). Second, Nelson alleged that she was 16
when Moore “squeez[ed] her neck attempting to force [her] head onto his
crotch.” (Doc. 31-19 at 4). That multiple women accused Moore of engaging
in sexual misconduct while they were younger than 18 makes Dunleavy’s
statement true. And even if a reasonable reader could understand
“underage” to mean younger than 16 (that is, the age of consent in
Alabama, ALA. CODE 13A-6-70(c)(1)), Moore has not plausibly alleged
actual malice—that is, that Dunleavy intended for readers to understand
“underage” to mean younger than 16 or that he was reckless with regard
to the term. So the statement is non-actionable, and the Court dismisses
this basis.18

                  6.     Polumbo’s statement that Moore was “an alleged
                         sexual predator” who had “been credibly accused
                         of sexual misconduct by multiple women who
                         were just teenagers at the time”
      Moore alleges that, in his one relevant article, Brad Polumbo
defamed him by writing that Moore was “an alleged sexual predator” who
had “been credibly accused of sexual misconduct by multiple women who
were just teenagers at the time.” (Doc. 51 at 21–22).19

      The Court dismisses this basis for Moore’s claim. First, Polumbo’s
assertion that Moore’s accusers were credible is a non-actionable
“statement[] of pure opinion.” Turner, 879 F.3d at 1262. Second, Corfman
and Nelson were younger than 18 at the time of Moore’s alleged

17   See Dunleavy, supra note 9.
18Moore does not argue against dismissal of this claim in his response brief. (Doc. 57). But a
plaintiff does not abandon a claim “by failing to address them in his response brief to the
defendants’ motion to dismiss” because abandonment “go[es] beyond the face of the complaint.”
Boyd v. Peet, 249 F. App’x 155, 157 (11th Cir. 2007).
19   See Polumbo, supra note 11.

                                             22
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 23 of 36




misconduct, see supra at 22. That means that Polumbo’s statement that
Moore was “an alleged sexual predator” and that Moore had been “accused
of sexual misconduct by multiple women who were just teenagers at the
time” are true or substantially true statements.

                                      ***

      To sum up, Moore may proceed on his claim that Lowe defamed him
per se by writing that “[a] handful of other women independently alleged
having intimate relationships with Moore in their teens.” (Doc. 51 at 16–
18). The Court dismisses the rest of Moore’s defamation per se claim with
prejudice. See infra at 36.

          C.      Moore’s defamation-by-implication allegations

      Moore asserts that the defendants defamed him by implication in
10 statements. He may proceed on one of the 10. The Court dismisses the
other nine.

                  1.     Lowe’s juxtaposition of Corfman’s and Nelson’s
                         allegations with the statement that other women
                         alleged having “intimate relationships with
                         Moore in their teens”
       Moore alleges that, in her second article, Lowe defamed him by
juxtaposing Corfman’s and Nelson’s allegations with the statement that
“other women independently alleged having intimate relationships with
Moore in their teens.” (Doc. 51 at 24–25).20 According to Moore, Lowe
“falsely and maliciously implie[d] that a number of ‘other’ teens had
intimate ‘sexual’ relationships with Judge Moore.” (Id. at 25 ¶ 84). This
basis survives the motion to dismiss.

      In her second article, Lowe reported that Corfman alleged having
“two intimate encounters” with Moore that would “constitute second
degree sexual abuse under Alabama law.” (Doc. 51-1 at 9). She then said
that Nelson “accused Moore of attempting to rape her in a car when she
was 16 years old.” (Id.). She said that Miller “accused Moore of hitting on
her while she was under the age of consent in Alabama.” (Id.). And then

20   See Lowe, supra note 7.

                                        23
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 24 of 36




she added that “[a] handful of other women independently alleged having
intimate relationships with Moore in their teens.” (Id.).

       The Court has already ruled that Moore may proceed on a
defamation-per-se theory that use of the word “intimate” was reasonably
capable of the defamatory suggestion that Moore had a sexual
relationship with “other women . . . in their teens.” See supra at 16–18.
Moore’s juxtaposition theory is slightly different: Moore says that Lowe’s
juxtaposition of Corfman’s and Nelson’s allegations with the “other
women” implied that Moore had a similar relationship/altercation with
“other women . . . in their teens.” This theory also survives to discovery.

      A reporter’s deliberate alteration of a quote satisfies the “false and
defamatory” component, Dolgencorp, 224 So. 3d at 186, and the actual-
malice component, if “the alteration results in a material change in the
meaning conveyed by the statement.” Masson, 501 U.S. at 517. Likewise,
a deceptive juxtaposition is actionable if: (1) the juxtaposed statements
are reasonably capable of false and defamatory implication; and (2) the
juxtaposition materially changes the story.

      The juxtaposition of Corfman’s and Nelson’s allegations with the
statement that “a handful of other women independently alleged having
intimate relationships with Moore in their teens” could reasonably be
understood to imply that Moore’s relationships/altercations with the
“other women” were like the altercations that Corfman and Nelson
described.21 That is all the more true because Lowe used the word
“intimate” to describe Moore’s encounter with Corfman and his
encounters with the “other women.”

     Again, Corfman alleged that, when she was 14, Moore “took off her
pants and shirt,” “touched her through her bra and underpants,” and

21 Moore’s specific allegation is that “Lowe . . . falsely and maliciously implie[d] that a number
of ‘other’ teens had intimate ‘sexual’ relationships with Judge Moore.” (Doc. 51 at 25 ¶ 84). That
allegation is slightly different that the false and defamatory implication that the Court identifies
as actionable. The Court disagrees with Moore that the juxtaposition alone implies a “sexual”
relationship with the “other women” because neither woman alleged sexual intercourse. (Doc.
31-7 at 3 (“She [Corfman] says they did not have intercourse.”); doc. 31-19 (no mention of
engagement in sexual intercourse in Nelson’s press-conference transcript)). But a reasonable
juror could reasonably infer from Moore’s allegations that Lowe’s statement falsely implied that
Moore treated the “other women” the same way he allegedly treated Corfman and Nelson.

                                                24
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 25 of 36




“guided her hand to his underwear.” (Doc. 31-7 at 5). Nelson alleged that,
when she was 16, Moore “began squeezing [her] neck attempting to force
[her] head onto his crotch” and that Moore “tri[ed] to pull [her] shirt off.”
(Doc. 31-19 at 4). She also said: “I thought he was going to rape me. I was
twisting and struggling and begging him to stop.” (Id.). But none of
Moore’s other accusers alleged that Moore engaged in comparably
aggressive touching. Instead, the others alleged that Moore pursued,
dated, and kissed them (see docs. 31-7, 31-24), which the Court finds is
materially distinguishable from the allegations of Corfman and Nelson.22

       This alleged false and defamatory implication constitutes a
material change to the allegations that the “other women” made. As a
result, Moore plausibly alleged defamation and actual malice for this basis
of his defamation-by-implication claim.

                  2.     Lowe’s statement that Wendy Miller “accused
                         Moore of hitting on her while she was under the
                         age of consent in Alabama”

     Moore alleges that Lowe also defamed him in Lowe’s second article
when she wrote that Wendy Miller “accused Moore of hitting on her while
she was under the age of consent in Alabama.” (Doc. 51 at 25 ¶ 85).23
Moore contends that, by referencing the age of consent, Lowe implied that
Moore “solicited sexual acts from Miller while she was underage.” (Id.).
The Court dismisses this claim.

      The phrase “hit on someone,” in context, means “to show someone
in a direct way that you are attracted to him or her.” Hit on someone,
CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/e
nglish/hit-on-someone (last visited Mar. 11, 2022). As reported by the
Washington Post, Miller alleged that Moore “approached her at the mall”
when she was 14 and “told her she looked pretty.” (Doc. 31-7 at 3, 7). Miller



22The closest is Gena Richardson’s allegation about Moore’s “‘forceful’ kiss that left her scared.”
(Doc. 31-24). But that allegation remains distinguishable. Further, Gena Richardson, on her
own, is not a “handful,” which is the term Lowe used.
23   See Lowe, supra note 7.

                                                25
     Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 26 of 36




also alleged that, two years later, Moore “began asking her out on dates
in the presence of her mother at the photo booth.” (Id. at 7).

       As Moore successfully argued in Cecil II, saying that Moore “hit on”
Wendy Miller is far different than saying Moore asked Miller to have sex.
Miller’s account supports the former statement (“hit on”) but not the latter
(“solicited sex”)—which is why the Court refused to dismiss a claim based
on the latter statement in Cecil II. Lowe’s statement didn’t cross the same
line, so it wasn’t “false and defamatory.” Dolgencorp, 224 So. 3d at 186.
Plus, it was truthful to report that Miller was under the age of consent
(that is, under 16) the first time Moore spoke to her. ALA. CODE § 13A-6-
70(c)(1). So the Court dismisses this basis.

              3.     Lowe’s references to Moore being a pedophile

      Moore alleges that Lowe defamed him by labeling him a “pedophile.”
(Doc. 51 at 25–26 ¶ 86).24 His theory is that Lowe defamatorily implied
that Moore “has a ‘preoccupation with a prepubescent child or children
(generally 13 years of age or younger) that occurs over a period of at least
six months.’” (Id.). The Court dismisses this basis.

       In Cecil II, the Court held that the use of the term “pedophile” is “at
least ‘reasonably capable’ of being read to suggest that Moore suffers from
a disorder that makes him want to have sex with prepubescent girls,” i.e.,
13 years old or younger. 2021 WL 1208870, at *6. Because nobody has
accused Moore of having that condition, he has adequately alleged a “false
and defamatory” statement. Dolgencorp, 224 So. 3d at 186.

       The question is whether Moore adequately alleged actual malice. To
do so, Moore must plausibly allege “‘that the defendant either intended to
communicate the defamatory meaning or knew of the defamatory
meaning and was reckless in regard to it.’” Cecil II, 2021 WL 1208870, at
*8. But Moore has not plausibly alleged facts that, if true, would establish
that Lowe intended to convey (or understood the technical definition and
recklessly conveyed) the clinical definition of the term “pedophile,” rather


24See Lowe, supra note 6 (“pedophile”); Lowe, supra note 10 (“credibly accused sexually
pedophilic predator”).

                                          26
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 27 of 36




than communicating that women accused Moore of sexual misconduct
during their teens. So Moore has not plausibly alleged actual malice.

      Moore alleges that Lowe’s “callous disregard for the truth is the
epitome of actual malice.” (Doc. 51 at 25 ¶ 86). That Lowe is allegedly
insensitive and cruel does not prove that she intended to convey (or
understand that her statement might convey) the clinical definition of the
term “pedophile.” Moore also alleges that “[n]o person ever accused [him]
of such behavior.” (Id. at 25–26 ¶ 86). But that fact would not permit a
jury to conclude that Lowe knew that it was incorrect to call Moore a
pedophile, especially considering that the media had reported that Moore
engaged in sexual misconduct with 14-year-old Corfman. (Doc. 31-7). And
Moore alleges that Lowe “completely ignored” evidence suggesting that
Moore is not a clinical pedophile. (Doc. 51 at 26 ¶ 86). But, again, Lowe
had no duty to investigate absent a plausible allegation that she
“purposefully avoided further investigation with the intent to avoid the
truth.” See Michel, 816 F.3d at 703. And Moore has not made a plausible
purposeful-avoidance allegation. So, in sum, Moore did not plausibly
allege actual malice, and the Court dismisses this claim.

                  4.     Lowe’s statement that “if you back Roy Moore in
                         a primary, every pro-life bill that fails in the
                         Senate means you have extra blood of babies on
                         your hands”
      Moore alleges that, in her first article, Lowe defamed him by
warning voters, “if you back Roy Moore in a primary, every pro-life bill
that fails in the Senate means you have extra blood of babies on your
hands.” (Doc. 51-1 at 26 ¶ 87).25 Moore says that Lowe’s warning “impl[ied]
that voting for Moore would lead to the death of children.” (Id.).

      This statement is not actionable because it “cannot reasonably be
interpreted as stating actual facts about [Moore].” Horsley, 292 F.3d at
701 (quoting Milkovich, 497 U.S. at 20). No reasonable reader would
perceive Lowe’s statement to say, imply, or suggest that Moore would
actually kill children if elected. It’s rhetoric that any reasonable reader
would have understood to reflect Lowe’s contempt for Moore. This case is
25   See Lowe, supra note 6.

                                        27
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 28 of 36




like Horsley v. Feldt, in which the Eleventh Circuit held that an
accusation that the plaintiff had “the blood of these doctors on [his] hands”
was non-actionable “lusty and imaginative expression[]” of contempt. 304
F.3d 1125, 1133 (11th Cir. 2002). So the Court dismisses this claim.

                  5.     Lowe’s statement that Moore was “famous for
                         being banned from a mall because he sexually
                         preyed on underage girls”
       Moore alleges that, in her first article, Lowe defamed him by stating
that Moore was “famous for being banned from a mall because he sexually
preyed on underage girls.” (Doc. 51 at 26 ¶ 88). 26 His theory is that the
statement implies “official action taken for sexual solicitation of underage
girls in a mall,” which he says did not occur. (Id.). Moore adds that no
evidence supports that the reason for the alleged ban was that he
“sexually preyed on underage girls.” (Id.). The Court dismisses this claim.

      The claim fails because Moore has not plausibly alleged actual
malice. Again, actual malice “cannot be found where . . . the publisher’s
allegations are supported by a multitude of previous reports upon which
the publisher reasonably relied.” Rosanova, 580 F.2d at 862. And Lowe’s
“reliance on . . . many independent sources, alone, should defeat any claim
of actual malice.” Berisha, 973 F.3d at 1313.

      First, previous reporting corroborated the statement (or
implication) that authorities banned Moore from the mall. (Docs. 31-14,
31-16, 31-21, 31-22, 31-25, 31-26, 31-27, 31-28, 31-29, 31-32). Second,
reporting corroborated the statement that the reason for the ban was that
Moore sexually preyed on underage girls. (See id.). And third, reporting
even corroborated the implication that the reason for the ban was that
Moore solicited sex from underage girls. (Docs. 31-14, 31-16, 43-17, 43-23,
43-27, 43-28). While those reports may be wrong, they were widespread.

      On that front, the Court pauses to explain the apparent backstory
of the mall-ban reporting. In November 2017, Glynn Wilson of the New
American Journal (an Alabama-based website) wrote, “[s]ources tell me
Moore was actually banned from the Gadsden Mall and the YMCA for his

26   See Lowe, supra note 6.

                                       28
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 29 of 36




inappropriate behavior of soliciting sex from young girls.” (Doc. 31-14).
The next day, the New Yorker published an article that repeated Wilson’s
statement. (Doc. 31-16). And then several more publications, such as the
Washington Post, The Telegraph, and People, started circulating the
statement that authorities banned Moore because he solicited sex from
young girls. About two weeks later, Wilson published another article that
said “further reporting indicates that ‘ban’ might be too strong a word.”27
But the genie had long since left the bottle.

      Even if Wilson walked back parts of his initial report, Moore has not
plausibly alleged actual malice. Lowe could rely on widespread reporting.
See Berisha, 973 F.3d at 1313. And she had no duty to investigate Wilson’s
later online post absent a plausible allegation that she “purposefully
avoided further investigation with the intent to avoid the truth.” Michel,
816 F.3d at 703. Moore has not plausibly alleged that here.

      For these reasons, Moore has not plausibly alleged actual malice for
this basis. So the Court dismisses it.

                  6.       Lowe’s and Dunleavy’s statements that Nelson
                           accused Moore of attempting to rape her
      Moore alleges that Lowe and Dunleavy each defamed him by
writing that Nelson accused Moore of attempting to rape her in a car. (Doc.
51 at 26–27 ¶¶ 89–90). In her second article, Lowe wrote that “Beverly
Young Nelson, a Republican Trump supporter, accused Moore of
attempting to rape her in a car when she was 16 years old.” (Doc. 51-1 at


27   Wilson wrote this in his follow-up article:

          While it has previously been reported that he was “banned” from the local mall
          and YMCA for inappropriate behavior and pursuing sexual relationships with
          underage girls, further reporting indicates that “ban” may be too strong a word.
          We now know that he was “run off” by store managers and mall security officers
          first from the Pizitz store in the mall, for spending hours fondling the female
          lingerie and hitting on store employees. He was “run off” from the mall itself on
          numerous occasions, also for being “creepy” and harassing teenaged girls and
          female employees.

Glynn Wilson, Gadsden Alabama Unfairly Targeted by National Media in Roy Moore Sex
Scandal, NEW AM. J. (Nov. 27, 2017), https://www.newamericanjournal.net/2017/11/gadsden-
alabama-unfairly-targeted-by-national-media-in-roy-moore-sex-scandal/.

                                                   29
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 30 of 36




9).28 And in his first article, Dunleavy wrote that “Nelson, a Trump
supporter, said that when she was 16 years old, Moore attempted to rape
her in a car.” (Id. at 17).29 Moore’s theory is that their statements imply
“that Moore did something toward the commission of the crime of rape
and that Nelson testified to his actions after the events in question.” (Doc.
51 at 26–27 ¶¶ 89–90). Because neither implication is actionable, the
Court dismisses this basis.

       First, the possible implication “that Moore did something towards
the commission of the crime of rape” is non-actionable because it is
“substantial[ly] tru[e].” Masson, 501 U.S. at 516. The Court has already
determined that it was technically inaccurate but substantially true to
say that Nelson accused Moore of attempting to rape her in a car. See
supra at 19–21. That’s because the reporters’ statements carry truthful
“substance,” “gist,” and “sting” that justify the reporting. Masson, 501 U.S.
at 516. And just as it was substantially true to report that Nelson accused
Moore of attempting to rape her, the implication that Moore committed
an act in furtherance of an attempted rape was also substantially (if not
wholly) true. Again, Nelson alleged that Moore locked her inside a car,
groped her, tried to force her head onto his crotch, and tried to take her
shirt off. (Doc. 31-19 at 4). And Nelson said that “I thought he was going
to rape me.” (Id.) Moore therefore cannot show that Lowe’s and Dunleavy’s
statements were “false and defamatory.” Dolgencorp, 224 So. 3d at 186.

      Second, regarding Moore’s allegation that the statements imply
“that Nelson testified to [Moore’s] actions after the events in question,”
that implication is not actionable either. No reasonable reader would
perceive the statements to imply that Nelson testified against Moore from
a witness stand under oath. Instead, a reasonable reader would
understand that the statements implied a public accusation. So Moore
cannot show that this statement is “false and defamatory,” either. Id.

      Moore also made no effort to plead facts that would establish that
Lowe and Dunleavy made these alleged implications with actual malice.
(See doc. 51 at 26–27 ¶¶ 89–90). He does not even include a conclusory

28   See Lowe, supra note 7.
29   See Dunleavy, supra note 8.

                                      30
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 31 of 36




actual-malice allegation. (Id.). So the Court also finds that Moore has not
adequately alleged actual malice for this claim. Coral Ridge Ministries
Media, Inc., 6 F.4th at 1252.

          For these reasons, the Court dismisses this basis.

                  7.     Dunleavy’s statement that “a number of women
                         came forward during the [2017] campaign to
                         claim that Moore had sexually assaulted them”
       Moore alleges that, in his second article, Dunleavy defamed him by
writing that “a number of women came forward during [Moore’s 2017]
campaign to claim that Moore had sexually assaulted them, including two
accusers who were underage at the time of the alleged incidents.” (Doc. 51
at 27 ¶ 91).30 Moore says that this statement implies that “more than two
women had accused [Moore] of sexual assault while under th[e] age of 16.”
(Id.). The Court dismisses this basis.

      First, Moore’s reading of Dunleavy’s statement is unreasonable. No
reasonable reader would understand the statement to imply that at least
three women accused Moore of sexually assaulting them when they were
15 years old or younger. Read plainly, Dunleavy’s article says at least
three women accused Moore of sexual assault and that at least two were
underage at the time of the incident.

      Second, it was truthful to imply that three women accused Moore of
sexual assault. Moore concedes that Corfman and Nelson accused him of
sexual assault. (Doc. 51 at 27 ¶ 91). And Tina Johnson alleged that Moore
“groped” or “grabbed” her buttocks when she was 28. (Docs. 31-22, 31-46).

      Third, the Court finds that Moore has not plausibly alleged actual
malice for his argument that “underage” implies “under the age of 16.”
No allegations in the complaint suggest that Dunleavy intended for
readers to understand “underage” to mean younger than 16 (which would
make the implication false because only Corfman was younger than 16)
instead of younger than 18 (which would make the implication true). For
these reasons, the Court dismisses this basis.

30   See Dunleavy, supra note 9.

                                       31
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 32 of 36




                 8.      Dunleavy’s statement that Moore is an “accused
                         sexual predator”
      Moore alleges that, in his second article, Dunleavy defamed him by
writing that Moore is an “accused sexual predator.” (Doc. 51 at 27 ¶ 91).31
The Court dismisses this basis.

      For one, the statement is true. Multiple women accused Moore of
misconduct, including Corfman, Nelson, Miller, Gibson, Deason, Thorp,
and Johnson. (Docs. 31-7, 31-19, 31-22, 31-45, 31-46). Their accusations
make it fair and truthful to label Moore an accused sexual predator. As
reported in a New York Times article, an Alabama teacher accused Moore
of being “a predator,” which also makes it truthful to label Moore an
accused predator. (Doc. 31-22 at 2). And other existing articles had
referenced Moore’s “predations” (docs. 31-12 at 5, 31-32 at 4, 31-33 at 4),
or his “predatory” behavior (doc. 31-38 at 4). Those articles make it
truthful to report that Moore was an accused predator, and also show that
Dunleavy’s statement is “supported by a multitude of previous reports
upon which the publisher reasonably relied.” Rosanova, 580 F.2d at 862.

      For another, Moore made no effort establish actual malice. He does
not even include a conclusory actual-malice allegation.

          For these reasons, the Court dismisses this basis.

                 9.      Polumbo’s statement that Moore was an “alleged
                         sexual predator”
      Moore alleges that Polumbo defamed him by similarly writing that
Moore was an “alleged sexual predator.” (Doc. 51 at 27 ¶ 92).32 The Court
dismisses this claim because several women alleged Moore committed
sexual misconduct, including Corfman, Nelson, Miller, Gibson, Deason,
Thorp, and Johnson. (Docs. 31-7, 31-19, 31-22, 31-45, 31-46). Their
accusations make it fair and truthful to label Moore an accused sexual
predator. As reported in a New York Times article, an Alabama teacher
accused Moore of being “a predator,” which also makes it truthful to label
Moore an accused predator. (Doc. 31-22 at 2). And other existing articles

31   See Dunleavy, supra note 9.
32   See Polumbo, supra note 11.

                                       32
        Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 33 of 36




had referenced Moore’s “predations” (docs. 31-12 at 5, 31-32 at 4, 31-33 at
4), or his “predatory behavior (doc. 31-38 at 4). Those articles make it
truthful to report that Moore is an accused predator, and also show that
Dunleavy’s statement is “supported by a multitude of previous reports
upon which the publisher reasonably relied.” Rosanova, 580 F.2d at 862.
Moore also made no effort to plead facts that would establish actual
malice. (Doc. 51 at 27 ¶ 92). So the Court dismisses this basis.

                 10.     Polumbo’s statement Moore had been “credibly
                         accused of sexual misconduct by multiple women
                         who were just teenagers at the time”
      Moore also alleges that Polumbo defamed him by writing that
Moore had “been credibly accused of sexual misconduct by multiple
women who were just teenagers at the time.” (Doc. 51 at 27 ¶ 92). 33 His
theory is that the statement implies that he “sexually assaulted and
preyed on multiple teenage women.” (Id.).
      The word “multiple,” in context, means “consisting of, including, or
involving more than one.” Multiple, MERRIAM-WEBSTER DICTIONARY,
https://www.merriam-webster.com/dictionary/multiple (last visited Mar.
11, 2022). So even if a reasonable reader might interpret “sexual
misconduct” to mean sexual assault (i.e., an unwanted or forcible sexual
touching), Nelson’s and Corfman’s allegations make Dunleavy’s
statement truthful. (Docs. 31-7, 31-19). Otherwise, to the extent that a
reader would could understand “sexual misconduct” to mean either sexual
assault or other inappropriate sexual advances, allegations from Nelson,
Corfman, Miller, Gibson, and Deason make the statement substantially
truthful. (Id.). Plus, Moore did not try to plead facts that would establish
actual malice. (Doc. 51 at 27 ¶ 92). So the Court dismisses this basis.
                                      ***
       In sum, Moore may proceed only on his claim that Lowe defamed
him by juxtaposing Nelson’s and Corfman’s allegations with the
statement that “other women independently alleged having intimate
relationships with Moore in their teens.” (Doc. 51 at 24–25). The Court
dismisses the claim with prejudice in all other respects. See infra at 36.

33   See Polumbo, supra note 11.

                                       33
      Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 34 of 36




II.    The IIED/Outrage Claim (Count III)
       Moore asserts an intentional-infliction-of-emotional-distress claim.
(Doc. 51 at 29). His theory is that the defendants’ defamatory publications
proximately caused him to suffer “extreme emotional distress, mental
anguish, embarrassment, and severe psychological distress utterly
intolerable in a civilized society so as to deter him from again running for
office and to dissuade others from supporting him.” (Id. at 29 ¶ 102). The
Court dismisses this claim with prejudice.
      The Law: Under Alabama law, the tort of intentional infliction of
emotional distress and the “tort of outrage” mean the same thing. Ex parte
Lumbermen’s Underwriting Alliance, 662 So. 2d 1133, 1134 (Ala. 1995).
To state a claim under either, the plaintiff must prove that the defendant’s
conduct: “(1) was intentional or reckless; (2) was extreme and outrageous;
and (3) caused emotional distress so severe that no reasonable person
could be expected to endure it.” Harrelson v. R.J., 882 So. 2d 317, 322 (Ala.
2003) (quoting Thomas v. BSE Indus. Contractors, Inc., 624 So. 2d 1041,
1043 (Ala. 1993)). To state a claim, the alleged conduct must “go beyond
all possible bounds of decency” and must “be regarded as atrocious and
utterly intolerable in a civilized society.” Id. at 332.

      Moore must also prove actual malice. Hustler Mag., Inc. v. Falwell,
485 U.S. 46, 56 (1988). That means that Moore could only potentially
proceed on the two claims the court has not dismissed: (1) defamation per
se claim that Lowe defamed him by reporting that “[a] handful of other
women independently alleged having intimate relationships with Moore
in their teens,” so that “intimate” could mean a sexual relationship (doc.
51 at 16–17); and (2) his defamation by implication claim based on Lowe’s
juxtaposition of Corfman’s and Nelson’s allegations with the statement
that other women alleged “intimate relationships” with Moore, based on
the implication that those other “intimate relationships” were like
Corfman’s and Nelson’s allegations (doc. 51 at 24–25).

      Alabama’s tort of outrage or IIED is “extremely limited,” and the
Alabama Supreme Court has “recognized it in regard to only three kinds
of conduct: (1) wrongful conduct in the family-burial context; (2) barbaric
methods employed to coerce an insurance settlement; and (3) egregious

                                     34
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 35 of 36




sexual harassment.” Pott v. Hayes, 771 So. 2d 462, 465 (Ala. 2000)
(internal citations omitted). Although the Alabama Supreme Court
recognized that a viable claim could fall outside these three categories,
id., both that state court and the Eleventh Circuit have been extremely
reluctant to extend the tort to other categories of conduct. See, e.g.,
Stancombe v. New Process Steel LP, 652 F. App’x 729, 739 (11th Cir. 2016);
McIsaas v. WZEW-FM Corp., 495 So. 2d 649, 651 (Ala. 1986).

      The merits: The Court dismisses this claim for two reasons. First,
Moore has not adequately pleaded facts that “state a claim to relief that
is plausible on its face.” Iqbal, 556 U.S. at 678. Moore’s complaint, in the
IIED section, states that “[t]he publications referenced herein label Judge
Moore an attempted rapist, accused sexual assailant, [and] pedophile
among other egregious labels and typecasts.” (Doc. 51 at 29 ¶ 103). But
Moore does not mention in this section of his complaint Lowe’s alleged
statement and implication about the women with whom Moore allegedly
had “intimate relationships,” which is the only defamation basis on which
he can proceed. His allegation that the defendants also published “other
egregious labels and typecasts” is far too abstract and vague to give the
defendants notice of the grounds on which Moore’s claim rests. Weiland v.
Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1323 (11th Cir. 2015). For
that reason, Moore fails to plausibly allege outrage or IIED based on the
only claims for which Moore may proceed.

       Second, Moore does not allege conduct that “go[es] beyond all
possible bounds of decency” or is “atrocious and utterly intolerable in a
civilized society.” Harrelson, 882 So. 2d at 332. The question here is
whether Lowe’s alleged false statement or implication that Moore had a
sexual relationship with certain undisclosed women exceeds all possible
bounds of decency. In Potts, the Alabama Supreme Court held that a
hospital’s false accusation that a nurse had a drug problem, which led to
an investigation by the nursing board, was not outrageous enough to
support a claim. 771 So. 2d at 463–65. Based on that standard, Lowe’s
statement(s) about Moore’s “intimate relationships” with “other women”
does not rise to the level of outrage necessary to support his state-law
claim. And principles of federalism dictate this court not expand the
current bounds of state law. So the Court dismisses this claim.

                                     35
    Case 4:20-cv-00124-CLM Document 59 Filed 03/11/22 Page 36 of 36




                                   ***

      To sum up, Moore may proceed on his claims that Lowe defamed
him per se (Count I) and defamed him by implication (Count II) when
Lowe wrote that “[a] handful of other women independently alleged
having intimate relationships with Moore in their teens.” (Doc. 51 at 16–
17, 24-25). The rest of his claims are due to be dismissed.

      The Court allowed Moore to file a Second Amended Complaint so
that Moore could “plead facts that would cure the deficiencies” in his First
Amended Complaint. (Doc. 49). The Court explained during the hearing
on the defendants’ motion to dismiss the First Amended Complaint that
Moore has “had enough chances” to produce an adequate complaint and
that this would be his “last chance.” (Doc. 54 at 35, 90). With that
backdrop, the Court DISMISSES WITH PREJUDICE all of Moore’s
claims except for the two claims listed above.

      Done and Ordered on March 11, 2022.



                                  _________________________________
                                  COREY L. MAZE
                                  UNITED STATES DISTRICT JUDGE




                                     36
